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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN

 JOSHUA GARCIA, ANDREA P. BRANDT                  )
 and HOWARD HART, individually and on             )
 behalf of all others similarly situated,         )   Civil Action No. 1:20-cv-01078
                                                  )
                               Plaintiffs,        )   Hon. Paul L. Maloney
                                                  )
                       v.                         )   Mag. Phillip J. Green
                                                  )
 ALTICOR, INC., THE BOARD OF                      )
 DIRECTORS OF ALTICOR, INC., THE                  )
 FIDUCIARY COMMITTEE OF ALTICOR,                  )
 INC., and JOHN DOES 1-30.                        )
                                                  )
                                                  )
                               Defendants.
                                                  )

   DEFENDANTS’ REPLY BRIEF IN SUPPORT OF DEFENDANTS’ MOTION FOR
  PARTIAL RECONSIDERATION OR, IN THE ALTERNATIVE, TO CERTIFY THE
 ORDER ON DEFENDANTS’ MOTION FOR INTERLOCUTORY APPEAL UNDER 28
                            U.S.C. § 1292(b)

       Defendants submit this brief reply in support of Defendants’ Motion for Partial

Reconsideration or, in the Alternative, to Certify the Order on Defendants’ Motion for

Interlocutory Appeal (“Motion”) to address inaccuracies in Plaintiffs’ Opposition to the Motion.

Contrary to Plaintiffs’ arguments, the Sixth Circuit’s decisions in Smith v. CommonSpirit Health,

37 F.4th 1160 (6th Cir. 2022) and Forman v. TriHealth, Inc., 2022 U.S. App. LEXIS 19253, 40

F.4th 443 (6th Cir. 2022) are an intervening change in the law and the pleading standards

established apply directly here. Plaintiffs’ attempts to distinguish their claims are misleading.

Critically, even if there is disagreement on the application of Smith and Forman to the claims here,

that disagreement paired with the impact on the resolution of Plaintiffs’ claims, warrant

certification of the Court’s August 9, 2021 Order denying Defendants’ Motion to Dismiss

(“August 9 Order”) for interlocutory appeal to determine how the newly developed standards

should apply.
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                                                ARGUMENT

    A. Smith and Forman are an Intervening Change in Sixth Circuit Law.

        Smith and Forman are an intervening change in the law. This Court recognized in its

August 9 Order that the Sixth Circuit had not yet ruled on the pleading standard applicable to

ERISA claims challenging plan fiduciaries’ monitoring of 401(k) plan fees and investments. ECF

No. 39 PageID.1546-1547. Smith and Forman filled that gap, providing a pleading standard that

applies directly to Plaintiffs’ claims. Plaintiffs offer no support for their position that only a “bright

line rule” can constitute an intervening change in the law. ECF No. 43 PageID.1598, 1602.

Further, the Sixth Circuit’s decision to apply Smith’s reasoning to similar claims in Forman shows

that Smith’s holding has sufficiently broad application to a wide range of similar claims, including

Plaintiffs’ claims here. Forman, 2022 U.S. App. LEXIS 19253, at *1 (“[p]recedent has overtaken

some of the debates in the case”); see infra, Section B. Accordingly, the holdings in Smith and

Forman are an intervening change in the law and reconsideration is appropriate.

    B. Smith and Forman Require Dismissal of Four of Plaintiffs’ Five Claims.

        Plaintiffs’ efforts to distinguish Smith and Forman must not be credited as they

misrepresent the holdings in Smith and Forman and the relief sought here.

        First, Plaintiffs’ Opposition gives an incomplete summary of Smith’s and Forman’s

holdings. ECF No. 43 PageID 1602-1603. Smith is not limited to a claim that active funds should

have been replaced with passive funds.1 Id. As relevant here, the Sixth Circuit also considered

and affirmed dismissal of claims alleging excessive recordkeeping fees, excessive investment

management fees, and underperformance of Plan investment options, as well as a disloyalty claim.

ECF No. 39 PageID.1551-1554.


1
 Notably, even if Smith was so limited, Plaintiffs make the same claim regarding the Fidelity Freedom Funds here.
ECF No. 39 PageID.1550-1551.


                                                        2
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       When summarizing Forman, Plaintiffs accurately explain that Forman considered an

allegation that some of the investments charged higher fees than available alternatives and led to

excessive administrative fees. ECF No. 43 PageID.1603. But Plaintiffs do not explain that the

Sixth Circuit affirmed dismissal of those claims. Id.; Forman, 2022 U.S. App. LEXIS 19253, at

*1-2 (Smith “largely resolves several of the plaintiffs’ claims” including “that their employer […]

should not have offered its employees the option of investing their retirement money in actively

managed funds, that the performance of several funds was deficient at certain points, and that the

overall fees charged for the investment options were too high.”).

       Instead, Plaintiffs emphasize that the Sixth Circuit did not affirm dismissal of the Forman

plaintiffs’ claim that the lowest cost share classes were not selected for certain funds and include

an entire section arguing against dismissal of their share class claim. ECF No. 43 PageID.1606.

Defendants do not dispute that Forman reversed dismissal of a share class claim and thus are not

seeking reconsideration of Plaintiffs’ claim challenging the share class of a single Plan fund. ECF

No. 39 PageID.1546. Plaintiffs’ focus on this claim is a complete red herring. The fact that the

Sixth Circuit affirmed dismissal of the Forman plaintiffs’ other claims, despite their surviving

share class claim, shows that Sixth Circuit standards require courts to consider each individual

claim and dismiss any that are not supported by sufficient facts to support a plausible claim.

       Turning to the four claims that are at issue in this Motion, Plaintiffs’ claims are not

distinguishable from claims dismissed in Smith and Forman. Plaintiffs’ detailed restatement of

the allegations in their Complaint and their arguments against Defendants’ prior Motion to Dismiss

is just that: a restatement. ECF No. 43 PageID.1603-1607. Plaintiffs do not address how Smith

and Forman apply to those claims. And, when each claim is analyzed independently, as Forman

requires, the similarities between Plaintiffs’ claims and the claims dismissed in Smith and Forman,




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and the Sixth Circuit’s disapproval of the inferences they rely upon, require dismissal of Plaintiffs’

claims. Plaintiffs’ argument that neither Smith nor Forman considered the “extensive facts or

allegations” as this matter is meritless. ECF No. 43 PageID.1607. Indeed, every substantive

section in Plaintiffs’ opposition is addressed in Smith, Forman, or both. See ECF No. 39

PageID.1549-1554 (analyzing Smith and Forman’s application to the claims here).2

    C. Alternatively, the Parties’ Disagreement Evidences the Need to Certify this Order for
       Interlocutory Appeal.

        Defendants assert that Smith and Forman are an intervening change in the law that apply

to Plaintiffs’ claims, making reconsideration appropriate here. However, should the Court decide

that reconsideration is not appropriate, the requirements for an interlocutory appeal are satisfied.

The pleading standard for Plaintiffs’ claims is a “controlling question of law,” and to the extent

there is disagreement or ambiguity on how Smith and Forman should apply, there is “substantial

ground for difference of opinion.” 28 U.S.C. § 1292(b). Further, applying Smith and Forman here

could lead to the dismissal of a majority of Plaintiffs’ claims, which would “materially advance

the ultimate termination of the litigation.” Id. Accordingly, even if this Court should decline to

reconsider its August 9 Order, it should certify that Order for interlocutory appeal to preserve the

Parties’ resources and judicial economy.

                                                CONCLUSION

        Reconsideration of the Court’s August 9 Order is appropriate because Smith and Forman

are an intervening change in the law and require dismissal of four of Plaintiffs’ five claims.

Alternatively, should the Court decline to reconsider its August 9 Order, it should certify that Order

for interlocutory appeal to determine the applicability of Smith and Forman.


2
 Moler v. Univ. of Maryland Medical Sys., No. 1:21-cv-01824-JRR, 2022 U.S. Dist. LEXIS 124797 (D. Md. July
13, 2022) is irrelevant as this is an out-of-circuit case where Smith and Forman are not controlling law. ECF No. 43
PageID.1608 at n. 4.


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Dated: August 10, 2022
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing pleading was

served this 10th day of August 2022 upon the Plaintiffs via the Court’s CM/ECF system.

                                              /s/ Stacey C.S. Cerrone
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN

  JOSHUA GARCIA, ANDREA P. BRANDT )
  and HOWARD HART, individually and on )
  behalf of all others similarly situated,  )          Civil Action No. 20-cv-01078
                                            )
                                Plaintiffs, )          Hon. Paul L. Maloney
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                        v.                  )          Mag. Phillip J. Green
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  ALTICOR, INC., THE BOARD OF               )
  DIRECTORS OF ALTICOR, INC., THE           )
  FIDUCIARY COMMITTEE OF ALTICOR, )
  INC., and JOHN DOES 1-30.                 )
                                            )
                                            )
                                Defendants.
                                            )

                             CERTIFICATE OF COMPLIANCE

        Defendants state as follows:

   1.      Defendants’ Reply Brief in Support of their Motion for Partial Reconsideration of The

           Court’s Order Denying Defendants’ Motion to Dismiss, or, in the Alternative, to

           Certify the Order on Defendants’ Motion to Dismiss for Interlocutory Appeal Under

           28 U.S.C. § 1292(b) contains 1,109 words. The word count excludes the parts of the

           brief that are exempted pursuant to the rule.

   2.      Defendants’ Reply Brief in Support of their Motion for Partial Reconsideration of The

           Court’s Order Denying Defendants’ Motion to Dismiss, or, in the Alternative, to

           Certify the Order on Defendants’ Motion to Dismiss for Interlocutory Appeal Under

           28 U.S.C. § 1292(b) has been prepared in proportionally spaced typeface using

           Microsoft Word 2016 in 12-point Times New Roman font.
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                                            Respectfully submitted,

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